Case 1:23-cv-05072-MLB Document 46-13 Filed 01/09/25 Pagelof2

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.

1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

Ex. I~ Sentencing Order February 2017
!

Z Case 1:23-cv-05072-MLB Document 46-13 Filed 01/09/25 Page 2 of 2
STATE CCURT OF GWINNETT COUNTY CRIMINAL ACTION NO ___20161D-06001-5 FINAL DISPOSITION

SewTece AND PROBATION ORDER OFFENSE) | TAlk iNd
STATE OF GEORGIA 72. OIminai tredpa ct

" 4 Wrannw « ABS IC a

Dec TERM “0 Ilo OFFENSE DATE “lp —| lb
weiea A Lod O TRIAL O VERDICT Cl OTHER

CU XEGOTIATED P IN ABSENTIA O JURY GUILTY ON CT(s) @ NOLLE PROS CT(s)
7) GUILTY CT(s)_ fy Z, O BENCH O NOT GUILTY ON CT{s) () DEAD DOCKET CT(s)
(NOLO CONTENDERE C7(s) C FIRST OFFENDER STATUS - See Supplemental Order
CG COND DISCHARGE 6 § 16-13 2(a) CT © PAYMENT OF RESTITUTION © See attached Order 0 Schedule within | days
0§ CT
WHEREAS, the Defendant has been found gutlly of or has entered a plea to the above state offense(s) tt ts ORDERED that the defendant is sentenced to
cT PROBATED SENTENCE NON PROBATED SENTENCE CREOIT TIME SERVED FINE surcharges to ba added

"Fb0 Susp

Liye months, OO at pease]
A LIE mo nits ace et to ani OCS twCt_ a> © é

12. mo whe occ Ms wet Z- TCCOCS wt 5.002 Suse
" OCCOCSocr Occocswcr ~~

RCCIUICS wWhCr EccoacstoCt __

Occocstecr OccOcswcr _
IT IS HEREBY COMMANDED, ya above DEFENDANT serve a sentence of Ala | VY Dd V 1 { hs entirely in jail on C1 probation CO suspension
or consisting of Z QO ay in@yaiOQ PWC in work release in house arrest
and the remainder on (Probation G Suspension subject to the requirements and conditions set out herein
QO Non probated time to be served (I tn hour increments weekly beginning O report
© Probation period to begin 1) consecutive to D concurrent with
() = Suspension conditioned on completion of conditions by Q Pay only probation O Apply cash bond

L
Conditions of Probation © Suspension S Check
General Conditions t¥
1 You must obey all laws and avoid persons of disreputable or harmful character . in {90 * +
You must avord injurtous and vicious habits especially alcohol and narcotics unless lawfully prescribed

2

3 You must work faithfully and not change your current residence or leave the jurisdiction of the Court without the permission of the Cour

4 You must report to your Probation Officer as directed and allow your Probation Officer to visit you wherever yau are O May report by phone apa
5 You must pay all fines and restitution within the time specified by your Probation Officer LED IN OFF!

6 You must pay a Probation Supervision Fee of $35 each month to Sautheast Corrections LLC the Courts probation segyepgAR@ TVACRKANC

7 You must pay a Crime Victims Compensation Program fee of $9 00 each month

Special Conditions

8 © You must perform hours of Community Service at the direction of your Probation Officer - g 2017
9 © You must perform days of Community Service (WAP) through GCCI (see supplemental form) FEB
{0 © You must prove your attendance at Alcoholics Anonymous or D Narcotics Anonymous meetings Per Week for consecutive weeks

11 Ofou must prove you attended a state approved school for © State mandated Risk Reduction 0 Defensive Driving 0 Alive at 25
@% You must begin within 30 days anes proof of your evaluation and treatment for mental health () substance abuse. ex STATE CUx

To be completed at lewpoint Mental Health Unit © State Approved Program On TT COUNTY GEORGU

13° © You will not use alcohol or narcotics and you must submit to random alcohol /drug screening Defendant shall pay GMA NE eben ent screen
if requested by probation © Including ETG testing

14 © Youmust QO pay a $25 Publication fee C1 install ignition interlock D tag forfeiture
15 © Attend the G Victim Impact Panel Cl Teen Victim Impact Panel as scheduled by probation Pay program fee “tS
16 O You must papicipate in and complete all the requirements of the Gwinnet}Zounty DU! Treatment Co Pro
17 You shall 7 have NO contact with O have NO VIOLENT contact with & NOT visit the premises of
18 (© You must begin within 30 days and provide proof of attendance and completion of 0 values clarification O theft ¢

Gi certified family violence intervention program CO anger management O decision making 0 parenting cou
19 © You must forfet any weapon(s) related to this matter O Attend a firearm safety course
20 i You must reimburse Gwinnett County for the cost of your 0 Court appointed attorney in the amount of $
21 © Submit to fingerprinting at the GCDC O within days © on or before at iy Ciera Gupenor ciate Court, Gmnne:
22  Iifines surcharges & special conditions of the sentence are mel/completed probation may become CO non-reporting C} termmated after _._.
23 O Appear before this court on at AM to prove completion of the terms of this sentence or your inability to comply
24 © Obtain no new citations and provide driver s history to probation every days for months

25 © Optam STO/HINNV testing O within, + days

26 Abide lalith Con dat ons of T?0-remahder of Droh ction enod must be on GPS Stak
2 KM pw lar Aa Vy Ove of The Couvein place WPon pamedd ate rel ease Trem Coty
The Defendant is further advised that the Court may at any ime revoke any conditions of this probation and/or discharge the defendant from probation The

Defendant shall be subject to arrest for violation of any condition of probation herein granted If such probation is revoked the Court may order the execution of the
sentence which was originally imposed or any portion thereof in the manner provided by law after deducting therefrom the amount of time the Defendant has

served on probation . J
Defendant was represented by O Pro Se trtorney Keg ] nald Wl LY vey County by (Employment) (Appointment)
Court Reporter Do ~ha Lah 2 f A Judge [printL——. < Sep CLannsiypye

Ordered ns th day of Eeb neatly of) Judge {sn}

White Clerk Yellow Solicitor Pink Probation Blue Defense Attorney Gold Defendant OCA Fm 18 NGR [30] DSI614
